Case 19-10600-BLS Doc 3 Filed 03/20/19 Page 1 of 1

United States Bankruptcy Court
District of Delaware

In re MONTESQU|EU CORPORAT|ON Case No.
Debtor(s) Chapter 1 1

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter ll Case

 

 

Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

Montesquieu, Inc Common Stock 100% Shareholder
8929 Aero Dr

San Diego, CA 92123

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

 

pate March 20, 2019 Signature ©§(k\_ , ,,-7 Lt`,/q
FonU§ Hopkins \)

Penaltyfor making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571,

Sheet 1 of l in List of Equity Security Holders
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